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                 EXHIBIT B-095
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                                                                                   FILED IN OFFICE

                     IN THE SUPERIOR COURT OF FULTON COUNTY                             SFPO8 2022
                                 STATE OF GEORGIA

                                                      )
IN RE SPECIAL PURPOSE GRAND JURY                      ) Case No. 22-EX-000024
                                                      )


       THE ATLANTA JOURNAL-CONSTITUTION'S RESPONSE TO MOTION
                     FOR IN CAMERA PROCEEDING

       The Atlanta Journal-Constitution respectfully files this response to the State's Motion For

In Camera Proceeding.

       On August 1, 2022, the State filed a Motion for Leave to File Under Seal relating to an

unspecified filing, "any subsequent pleadings related to the filing" and "any subsequent hearing

related to the filing." The Atlanta Journal-Constitution filed its opposition to the State's motion

on August 3, and thereafter witnesses Mark Amick, Joseph Brannan, Brad Carver, Vikki

Consiglio, John Downey, Carolyn Fish, Kay Godwin, Cathy Latham, David Shafer, Shawn Still,

and CB Yadav filed their opposition on August 30.

       The State has now filed a motion for "in camera proceeding to consider the State's

request to file under seal, in which only the interested parties and their counsel be in attendance

due to the sensitive nature of the request." Motion at l.

       Georgia law, however, is clear. A hearing on a closure or sealing motion sought pursuant

to Superior Court Rule 21 "shall be open, reported and transcribed." R. W Page v. Lumpkin, 249

Ga. 576, 580 (1982). While the Georgia Supreme Court has noted that "[i]n camera conferences

may be appropriate means to exclude certain sensitive details from general exposure during the

hearing," as a general matter, the hearing itself must be open. Id. at 580 n.10. The State's

motion does not even attempt to specify particularly sensitive matters that it contends would

justify closure and instead asserts in a sweeping and generic fashion that it is endeavoring to
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"protect the integrity of the Special Grand Jury process and the privacy and rights of the

aforementioned 11 witnesses before said Special Purpose Grand Jury." Motion at 1. As noted

above, however, those witnesses are independently represented by counsel and have opposed the

State's motion to seal. See August 30, 2022 Opposition to State's Motion for Leave to File

Under Seal.

       Accordingly, while The Atlanta Journal-Constitution does not oppose the State's request

for a hearing on its Motion For Leave to File Under Seal, it does oppose the State's request for

said hearing to be conducted in camera.

       Dated this the 8th day of September, 2022

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day served a true and correct copy of the

above THE ATLANTA JOURNAL-CONSTITUTION'S RESPONSE TO MOTION FOR IN

CAMERA PROCEEDING via Electronic and United States Mail upon:



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              DATED this the 8th day of September, 2022
